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           IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                 8:09CR48
                              )
          v.                  )
                              )
ROBERTO CAMACHO-GUTIERREZ,    )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s amended

motion under 28 U.S.C. § 2255 to vacate, set aside, or correct

sentence by a person in federal custody (Filing No. 166).                 After

review of the motion, the Court will direct the United States to

file a response, primarily for the purpose of obtaining an

affidavit from defense counsel in response to allegations of the

defendant.   Accordingly,

           IT IS ORDERED that the response shall be filed on or

before December 10, 2010.

           DATED this 1st day of December, 2010.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
